        Case 5:12-cr-00092-VAP Document 811 Filed 03/16/15 Page 1 of 2 Page ID #:13458

                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                    CRIMINAL MINUTES - SENTENCING AND JUDGMENT


 Case No.         ED CR 12-00092-(A)-VAP                                                         Date      March 16, 2015

 Present: The Honorable         VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE
                                                                                                         Susan J. Dewitt
                                                                                                       Christopher G. Grigg
                Marva Dillard                            Phyllis Preston                                    Allen Chiu
                Deputy Clerk                    Court Reporter/Recorder, Tape No.                     Assistant U.S. Attorney

           Defendant                           Counsel for Defendant           Retd. DFPD     Panel                Interpreter
  (4) ARIFEEN DAVID GOJALI                     John N. Aquilina, CJA                           X                      N/A
 PROCEEDINGS:                      SENTENCING AND JUDGMENT                       Q Contested                X Non-Evidentiary
                                   Day       (if continued from a prior hearing date)
 W Refer to Judgment and Probation/Commitment Order; signed copy separately submitted.                     See below for sentence.
   Imprisonment for years/months         on each of counts
   Count(s)                              concurrent/consecutive to count(s)
   Fine of $                             is imposed on each of count(s) concurrent/consecutive.
       Execution/Imposition of sentence as to imprisonment only suspended on count(s)
   Confined in jail-type institution for                                         to be served on consecutive days/weekends
       commencing
   years/months Supervised Release/Probation imposed on count(s)
   consecutive/concurrent to count(s)
   under the usual terms & conditions (see back of Judgment/Commitment Order) and the following additional terms and conditions,
   under the direction of the Probation Office:
       Perform                                         hours of community service.
       Serve                                           in a CCC/CTC.
       Pay             $                               fine amounts & times determined by P/O.
       Make            $                               restitution in amounts & times determined by P/O.
       Participate in a program for treatment of narcotic/alcohol addiction.
       Pay any fine imposed by this sentence & that remains unpaid at commencement of community supervision. Comply with
       rules/regulations of BICE, if deported not return to U.S.A. illegally and upon any reentry during period of supervision report
       to the nearest P/O within 72 hours.
       Other conditions:
   Pursuant to Section 5E1.2(e), all fines are waived, including costs of imprisonment & supervision. The Court finds the
   defendant does not have the ability to pay.
   Pay      $                             per count, special assessment to the United States for a total of $
   Imprisonment for months/years          and for a study pursuant to 18 USC
   with results to be furnished to the Court within days/months                  whereupon the sentence shall be subject to
   modification. This matter is set for further hearing on
 W Government's motion, all remaining count(s)/underlying indictment/information, ordered dismissed.
 W Defendant informed of right to appeal.
   ORDER sentencing transcript for Sentencing Commission. W Processed statement of reasons.
   Bond exonerated                     upon surrender                   upon service of
   Execution of sentence is stayed until 12 noon,
   at which time the defendant shall surrender to the designated facility of the Bureau of Prisons, or, if no designation made, to the
   U.S. Marshal.
   Defendant ordered remanded to/released from custody of U.S. Marshal forthwith.
   Issued Remand/Release          #
   Present bond to continue as bond on appeal.                          Appeal bond set at $
 W Filed and distributed judgment.
   Other
                                                                                                           -        :      45


CR-90 (12/03)                        CRIMINAL MINUTES - SENTENCING AND JUDGMENT                                                  Page 1 of 2
        Case 5:12-cr-00092-VAP Document 811 Filed 03/16/15 Page 2 of 2 Page ID #:13459

                              UNITED STATES DISTRICT COURT
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                         CRIMINAL MINUTES - SENTENCING AND JUDGMENT

                                                       Initials of Deputy Clerk   md
cc:




CR-90 (12/03)              CRIMINAL MINUTES - SENTENCING AND JUDGMENT                  Page 2 of 2
